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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    UNITED STATES OF AMERICA,

             Plaintiff,

    v.                                               Case No. 8:06-cr-26-T-26TBM

    RICHARD JOSEPH SOLOMON,

             Defendant.
                                             /


                                 ORDER APPOINTING CJA COUNSEL

             The defendant, Richard Joseph Solomon, having appeared before the undersigned for

    a hearing with respect to appointment of counsel, and the court having found that although the

    Defendant may be financially able to obtain adequate representation within the meaning of 18

    U.S.C. § 3006A, he is presently unable to retain counsel and the court has appointed Daniel

    Hernandez to represent the Defendant in this case. It is further found that since the Defendant

    is not per se indigent and he has certain financial resources available to him, the undersigned

    finds that it is in the interests of justice to require the Defendant to contribute toward the cost

    of his/her court-appointed counsel pursuant to18 U.S.C. § 3006A(f).

             It is, therefore,

             ORDERED:

             (1) that beginning on March 1, 2006, and by the first business day of each month

    thereafter and during the pendency of this action, the Defendant shall deposit the sum of Two

    Hundred Dollars ($200.00) (cash, money order, or cashier's check made payable to: Clerk,
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    U.S. District Court)1 to be credited to the Defender Services appropriation for the fiscal year

    in which the payment is received. 18 U.S.C. §3006A(f);

             (2) in the event that the total cost of court appointed counsel is less than the amount

    deposited by the Defendant, the Clerk of Court shall refund the balance of the deposit to the

    Defendant.

             Done and Ordered in Tampa, Florida this 21st day of February 2006.




    Copies furnished to:
    Rachelle DesVaux Bedke, Assistant United States Attorney
    Daniel Hernandez, Attorney for Defendant
    Defendant c/o counsel
    Finance Clerk




      1
      Mailed payments should reflect the Case Number and be sent to the Clerk at the United States
    Courthouse, 801 North Florida Avenue, Tampa, Florida 33602.

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